          Case 24-80258 Document 4 Filed in TXSB on 08/31/24 Page 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

In re                                                §
                                                     §                                      No. 24-80258
BEBCO ENVIRONMENTAL                                  §                                        Chapter 11
CONTROLS CORPORATION,                                §                              Jointly Administered
                                 Debtors.


          DEBTORS’ EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL


T HI S M OT I O N S E E KS A N OR D E R T HAT M AY A D V E R S E LY A FFE C T Y OU . I F Y O U O P P OS E
T HE M OT I O N , Y O U S H O U L D I M M E D I AT E LY C ON TA C T T HE M OV I N G PA RT Y TO
R E S O LV E T HE D I S PU T E . I F Y O U A N D T HE M OV I N G PA RT Y C A N N O T A GR E E , Y OU M U S T
FI L E A R E S P O N S E A N D S E N D A C OP Y TO T HE M OV I N G PA RT Y . Y O U M U S T FI L E A N D
S E RV E Y O U R R E S P ON S E W I T HI N 14 D AY S O F T HE D AT E T HI S WA S S E RV E D ON Y O U .
Y O U R R E S P ON S E M U S T S TAT E W HY T HE M O T I O N S H OU L D N O T B E GR A N T E D . I F Y OU
D O N OT FI L E A T I M E LY R E S P ON S E , T HE R E L I E F M AY B E G R A N T E D W I T H OU T
FU RT HE R N O T I C E TO Y O U . I F Y OU O P P OS E T HE M OT I O N A N D HAV E N OT R E A C HE D
A N A G R E E M E N T , Y O U M U S T AT T E N D T HE HE A R I N G . U N L E S S T HE PA RT I E S A G R E E
OT HE RW I S E , T H E C O U RT M AY C ON S I D E R E V I D E N C E AT T HE H E A R I N G A N D M AY
D E C I D E T HE M OT I O N AT T HE HE A R I N G .

R E P R E S E N T E D PA RT I E S S H OU L D A C T T H R OU G H T HE I R AT TOR N E Y .

E M E R GE N C Y R E L I E F H A S    B E E N R E QU E S T E D . I F T HE C O U RT C O N S I D E R S T HE
M OT I O N ON A N E M E R GE N C Y B A S I S , T HE N Y O U W I L L HAV E L E S S T H A N 21 D AY S TO
A N S W E R . I F Y O U OB J E C T TO T HE R E Q U E S T E D R E L I E F OR I F Y OU B E L I E V E T HAT T HE
E M E R GE N C Y C O N S I D E R AT I O N I S N O T WA R R A N T E D , Y OU S H O U L D F I L E A N
I M M E D I AT E R E S P ON S E .

A S S E T F ORT H I N S E C T I ON I, B E L OW , E M E R GE N C Y R E L I E F I S R E QU E S T E D ON OR
B E F OR E SEPTEMBER 6, 2024.

TO THE HONORABLE ALFREDO R. PEREZ, UNITED STATES BANKRUPTCY

JUDGE.




                                                 Page 1 of 5
          Case 24-80258 Document 4 Filed in TXSB on 08/31/24 Page 2 of 5




        BEBCO ENVIRONMENTAL CONTROLS CORPORATION (“BEBCO” or the

“Debtor”) files this Emergency Motion for Authority to Use Cash Collateral ("Cash Collateral

motion"), and for cause would respectfully show:

        A.      Filing Date. On August 30, 2024 (the “Filing Date”), Debtor filed a voluntary

petition for relief under Chapter 11, Subchapter V, of the United States Bankruptcy Code, com-

mencing the above-styled and numbered bankruptcy case (the “Bankruptcy Case”). Debtor is op-

erating its businesses as a Debtor-in-Possession, and there are currently no pending motions to

remove the Debtor as a Debtor-in-Possession.

        B.      Jurisdiction and Venue. This Court has jurisdiction over the subject matter of this

Motion pursuant to 28 U.S.C. § 1334(a). Being that this Motion concerns matters directly affecting

the administration of bankruptcy estates and their use of cash collateral, this is a core proceeding.

See 28 U.S.C. §§ 157(b)(2)(A), 157(b)(2)(M). There is no constitutional prohibition to this Court

entering a final order concerning this Motion. Venue is proper before this Court pursuant to 11

U.S.C. §§ 1408 and 1409.

        C.      The SBA Indebtedness and Collateral. The SBA is a secured creditor of the

Debtor with a claim in the principal amount of $150,000. Interest accrues under the SBA Loan

Authorization and Agreement at the rate of 3.75%. 1 The monthly interest accruing under the SBA

Loan Agreement is $468.75. The collateral for the SBA Loan, as set forth in the SBA Loan Agree-

ment is as follows:

        “. . . The Collateral includes the following property that Borrower now owns or
        shall acquire or create immediately upon the acquisition or creation thereof: all tan-
        gible and intangible personal property, including, but not limited to: (a) inventory,
        (b) equipment, (c) instruments, including promissory notes (d) chattel paper, in-
        cluding tangible chattel paper and electronic chattel paper, (e) documents, (f) letter

1
 The SBA Loan Authorization and Agreement and UCC-1 Financing Statement are attached as Exhibit “1” to the
Cash Collateral Motion.



                                               Page 2 of 5
                Case 24-80258 Document 4 Filed in TXSB on 08/31/24 Page 3 of 5




           of credit rights, (g) accounts, including health-care insurance receivables and credit
           card receivables, (h) deposit accounts, (i) commercial tort claims, (j) general intan-
           gibles, including payment intangibles and software and (k) as-extracted collateral
           as such erms may from time to time be defined in the Uniform Commercial Code.
           The security interest Borrower grants includes all accessions, attachments, acces-
           sories, parts, supplies and replacements for the Collateral, all products, proceeds
           and collections thereof and all records and data relating thereto.”

The Debtor has reviewed the Secretary of State UCC filings, and has determined that the security

interest of the SBA has been perfected by the filing of a UCC 1 Financing Statement.

           D.       The IRS Claim and Collateral. The claim of the IRS is calculated based on seven

tax liens on file with the Secretary of State. 2 The total amount of the IRS secured claim is

$268,491. The IRS’ priority unsecured claim is $202,016. The total monthly interest on, calculated

at the statutory rate of interest equal to 8%. The IRS liens are for employment taxes, and the IRS

lien attaches to cash collateral. See 26 U.S.C. § 6321 (lien attaches to “all property and rights to

property, whether real or personal”); see also id. § 6323 (perfection and priority of tax liens).

           F.       Debtor’s Stipulations. To provide the SBA and IRS with adequate protection for

the use of cash collateral, the Debtor has stipulated to the following:

           a. that the IRS Indebtedness is valid, binding and enforceable in accordance with
              its terms;
           b. that the SBA Indebtedness is valid, binding and enforceable in accordance with
               its terms;
           c. that the IRS Collateral is duly perfected, and is valid, binding and enforceable
              in accordance with the statutory provisions set forth above; and

           d`. that the SBA’s lien is duly perfected, and is valid, binding and enforceable in
               accordance with the SBA Loan Authorization and Agreement and the UCC-1
               filing with the Secretary of State of the State of Texas.

           G.       Cause Shown. Good cause exists to support entry of an Interim Order Authorizing

Use of Cash Collateral. The Debtor requires the use of Cash Collateral to operate its business.


2
    The IRS Tax Liens are listed on Exhibit “2” attached to the Cash Collateral Motion.



                                                      Page 3 of 5
          Case 24-80258 Document 4 Filed in TXSB on 08/31/24 Page 4 of 5




Without the use of Cash Collateral, the Debtor will not be able to meet its cash requirement for

working capital needs or to fund the administration of the Bankruptcy Case. The Debtor believes

that it is in the best interest of the bankruptcy estate and its creditors to utilize the Cash Collateral

subject to the terms and conditions set forth herein. The Debtor believes use of the Cash Collateral

subject to the terms and conditions set forth herein is a proper exercise of its business judgment.

The partial adequate protection provided herein and other benefits and privileges contained herein

are consistent with and authorized by the Bankruptcy Code and are expected to provide adequate

protection for the interests of the IRS and SBA in their respective Prepetition Collateral.

        H.       Notice. The Court finds that the notice to the U.S. Trustee, the Subchapter V Trus-

tee, the SBA and the IRS, and the Debtor’s creditors was sufficient under the circumstances. Entry

of an Interim Order is justified and appropriate under the circumstances and is in the best interest

of the estate. Use of Cash Collateral as provided herein is being requested to avoid immediate and

irreparable harm.

                                      RELIEF REQUESTED

   1.   Debtor requests that its Emergency Motion for Authority to Use the cash Collateral of the

IRS and the SBA be GRANTED as set forth herein.

   2.   Debtor requests authority to use Cash Collateral only as set forth in the Budget attached

hereto as E X H I B I T 1 to the extent and subject to the terms and provisions set forth in the proposed

Interim Order uploaded with this Cash Collateral Motion.

WHEREFORE, Debtor requests authority to use the cash collateral of the SBA and the IRS spe-

cifically pursuant to the terms and conditions set forth in the proposed interim Order uploaded with

this Cash collateral Motion. Debtor request such other and further relief to which it may show

itself justly entitled.




                                               Page 4 of 5
        Case 24-80258 Document 4 Filed in TXSB on 08/31/24 Page 5 of 5




      Respectfully submitted this 31st day of August 2024.


                                                /s/Leonard H. Simon
                                                Leonard H. Simon, Esq.
                                                TBN: 18387400; SDOT: 8200
                                                The Riviana Building
                                                2777 Allen Parkway, Suite 800
                                                Houston, Texas 77019
                                                (713) 528-8555 (Main)
                                                (832) 202-2810 (Fax)
                                                lsimon@pendergraftsimon.com

                                                PROPOSED ATTORNEY FOR DEBTOR


OF COUNSEL:
William P. Haddock, Esq.
PENDERGRAFT & SIMON
2777 Allen Parkway, Suite 800
Houston, Texas 77019
(713) 528-8555 (Main)
(832) 202-2810 (Fax)

                                CERTIFICATE OF SERVICE

                                    (To be filed separately)




                                           Page 5 of 5
